    Case 2:25-cv-00714-KAM-SIL                        Document 4            Filed 02/10/25     Page 1 of 2 PageID #: 19


AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                      Eastern District ofNew York


   Flagstar Financial & Leasing, LLC f/k/a Signature                )
                    Financial, LLC                                  )
                                                                    )
                                                                    )
                            Plaintiff(s)
                                                                    )
                                                                    )
                                v.                                           Civil Action No. 2:25-cv-00714-KAM-SIL
                                                                    )
      Run Roadlines, Inc. d/b/a Run INC/RRI, and                    )
                Manpreet Randhawa                                   )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Run Roadlines, Inc. d/b/a Run INC/RRI, 10020 Mosaic Way, Elk Grove, Calitfornia
                                   95757

                                           Manpreet Randhawa, 1326 Como Drive, Manteca, California 95337




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) -you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Bronster, LLP
                                 Attn: J. Logan Rappaport, Esq.
                                 156 West 56th Street, Suite 703
                                 New York, New York 10019



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                                BRENNA B. MAHONEY
                                                                                CLERK OF COURT


          2/10/2025                                                                    Lauuz,
Date: - - - -- -- -- -
                                                                                         Signature o
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                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

           This summons for (name of individual and title, if any)
 was received by me on (date)

           0 I personally served the summons on the individual at (place)
                                                                                on (date)                            ; or

           0 I left the summons at the individual's residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
          ------------ --  ----
           on (date)   ' and mailed a copy to the individual's last known address; or

           0 I served the summons on (name of individual)                                                                     , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                            ; or

           0 I returned the summons unexecuted because                                                                             ; or

           0 Other (specify):



           My fees are$                            for travel and $                  for services, for a total of$          0.00


           I declare under penalty of perjury that this information is true.



 Date:
                                                                                            Server's signature


                                                                                        Printed name and title




                                                                                            Server's address

Additional information regarding attempted service, etc:
